

Punter v New York City Health &amp; Hosp. Corp. (2021 NY Slip Op 01132)





Punter v New York City Health &amp; Hosp. Corp.


2021 NY Slip Op 01132


Decided on February 18, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 18, 2021

Before: Renwick, J.P., Kern, Singh, Shulman, JJ. 


Index No. 805071/15 Appeal No. 13155 Case No. 2020-01711 

[*1]Iesha Punter, Plaintiff-Appellant,
vNew York City Health and Hospital Corporation, et al., Defendants-Respondents.


Robert J. Genis, New York (Alexander J. Wulwick of counsel), for appellant.
James E. Johnson, Corporation Counsel, New York (Elina Druker of counsel), for respondents.



Order, Supreme Court, New York County (George J. Silver, J.), entered November 8, 2019, which denied plaintiff"s motion for leave to renew her motion for certain discovery, unanimously affirmed, without costs.
Plaintiff moved for renewal on the ground that there had been a change in the law that would change the prior determination (CPLR 2221[e][2]; see e.g. Gager v White, 53 NY2d 475 [1981], cert denied 454 US 1086 [1981]). However, the reversal of a Kings County trial order mentioned in the order on appeal did not effect a change in the law; the Second Department simply applied long settled principles of discovery (see Vargas v Lee, 170 AD3d 1073 [2d Dept 2019], revg 2015 NY Slip Op 31048[U] [Sup Ct, Kings County 2015]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 18, 2021








